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Exhibit A

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

ROBERT STOUD CIVIL ACTION
Plaintiff
v.
SUSQUEHANNA COUNTY
Defendant No. 3:17-CV-2183

 

PLAINTIFF’S REQUEST FOR THE PRODUCTION OF DOCUMENTS
DIRECTED TO DEFENDANT

Pursuant to Federal Rules of Civil Procedure 33 and 34, Plaintiff Robert
Stoud hereby requests Defendant to produce the documents described herein, in
accordance with the provisions of Federal Rules of Civil Procedure 26 and 34 and
the enclosed instructions.

INSTRUCTIONS
1. Prepare a response to this request for the production of documents that
separately replies to each of the numbered descriptions of documents set
forth in the section below.
2. Clearly indicate in each reply the number of the description you are
addressing, which document (s) or portions (s) of a document described
therein you agree to produce, and/or which document (s) or portion (s) of

documents that you object to producing.

 
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. In the event that you object to producing a document or a portion of a
document in a reply, also state therein for each such document or portion of
a document, all of the reasons for your objection.

. This request for production is continuing. If at any time after service of your
response to this request, you become aware that one of your replies is
incomplete or incorrect, please promptly serve a suitable supplemental
response.

. Ifa document exists that is protected from discovery by a privilege which
you wish to assert, identify the document and then state the privilege which

you are asserting.

DOCUMENTS

. Any and all documents pertaining to the Plaintiff, Robert Stoud, including,
but not limited to, his personnel file.

. Any and all documents relating to the chain of command in Susquehanna
County government.

. Any and all documents related to Susquehanna County’s policies and
procedures regarding sexual harassment and harassment.

. Any and all organizational charts for Susquehanna County government.

. Any and all documents related to Susquehanna County’s progressive

discipline policy.
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6. Any and all disciplinary documents related to the Plaintiff.

7. Copy of Commissioners’ Meeting minutes and Salary Board Meeting

minutes from 2012 through the present.

8. A copy of Susquehanna County’s policies and procedures manual.

Date: August 17, 2018

Respectfully Submitted:

/s/ Gerard M. Karam, Esquire
Gerard M. Karam, Esquire

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/s/ Christopher J. Szeweozyk, Esquire
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CERTIFICATE OF SERVICE
I, Christopher J. Szewczyk, Esquire, hereby certify that on August 17, 2018,
I served a true and correct copy of the foregoing document to the following via
electronic mail:

A James Hailstone
jhailstone@kbh-law.com

 

/s/ Christopher J. Szewezyk, Esquire
Christopher J. Szewezyk, Esquire
Attorney for the Plaintiff
